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                              PETITION/AFFIDAVIT
                                          (Exhibit A)

Now comes forth the current Members of The Value Creators, Inc. f/k/a The United Nation
of Islam, Inc; being the_ age of majority and not coerced; in harmony with this statement of
Truth in which my individual autographed signature listed on subsequent attached pages
that follow is in DIRECT connection with Case Number 2:17-cv-02547-DDC-TJJ of
Kendra Ross v. Royall Jenkins et al.
I/We have first-hand knowledge concerning ALL of the allegations presented in the case by
Kendra Ross as being false and untrue in nature.
I am an expert witness to the following facts because I have been a member of the United
Nation of Islam and am still a current member of The Value Creators; as the duration of my
membership located near my signature indicates on connected pages of this Affidavit.
I/We attest to the following list of facts being TRUE as it pertains to case# 2:17-cv-02547-
DDC-TJJ.

FACTS:
1.) All duties, services, charity and/or gifts GRANTED to The United Nation oflslam et al
were and are given on a VOLUNTEER basis whether the member was Full Time under
Nation's care or a Part-time member. The United Nation oflslam or The Value Creators
have never had any employees nor paid any Members for their services. Thus, Kendra Ross
or any other U.N.O.I./T.V.C. past or present participant has no STANDING or MERIT to
receive ANY type ofMONETATRY compensation for their energies placed in The United
Nation of Islam at el. KENDRA ROSS has no CONTRACT with CONSIDERATION
written or verbal with Royall Jenkins or The United Nation oflslam et al; all Materials
and/or Services of All types were given FREELY by SELF GUIDED or
PARENTAL/GUARDIAN CONSENT.
    • MONETARY: The usual meaning is "pertaining to coinage or currency or having to
        do with money", but it has been held to include personal property. In re Kipp's Will,
        Sur., 37 N.Y.S.2d 541, 543 - Black's Law Dictionary 4th edition.
2.) All Members in Full Time Nation's care RECEIVED: food, clothing, shelter,
transportation, medical care, communication and education (education meaning academia,
civilization and mathematical thinking classes). I/We either received these benefits and/or
GRANTED charity to support these activities.
3.) The Parents and/or Guardians of all children that participated in The United Nation of
                              ..
Islam system of education known as The University of Art3' and Logistics of Civilization
WILLINGLY gave their CONSENT to allow their children to be involved and participate
in ALL Nation activities IF the child/youth was deemed mentally and physically capable.
4.) Anyxiispatching of children across State lines or relocating to different homes was
known to the parents and executed with their CONSENT in which the Parent and/or
Guardian had the right to recall the child or children back to their care AT WILL.




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If requested, I/We will testify under oath in any court of law or method necessary to make
the overall TRUTH be known and that the above facts 1-4 are accurate and True.
I/We being in accord with the notification of my printed name next to my Authorized wet
signature, the duration of my membership and the date executed authenticates the validity
of this presentment.
In My/Our pursuit to see Justice served IfWe therefore pray the Court approves our request
for
     1. NEW TRIAL.
     2. VACATE THE JUDGEMENT.
     3 ... Assign Court appointed Counsel to assist in the litigatjon of this case OR allow us
           to conduct the proceedings Pro Se.
These requests are based on our current financial status of being a Non-Profit Organization
without the wherewithal to afford fee based Counsel to represent o~ interests.
This request is respectfully submitted in the name of the New Allah (God), The Hierarchy
and all Positive Beings in the Universes. (KJV: Revelation chap. 21 v. 1-27).




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